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                         1    STIP
                              MICHAEL N. AISEN, ESQ.
                         2    Nevada State Bar No. 11036
                              ADAM L. GILL, ESQ.
                         3    Nevada State Bar No. 11575
                              723 South 3rd Street
                         4    Las Vegas, NV 89101
                              P: (702) 750-1590
                         5    F: (702) 548-6884
                              Attorneys for Defendant
                         6    Francisco Mares

                         7                                 UNITED STATES DISTRICT COURT
                         8                                       DISTRICT OF NEVADA
                         9    UNITED STATES OF AMERICA,
                        10                  Plaintiff,                          Case No: 2:20-CR-00018-JCM-EJY

                        11    vs.
                                                                                STIPULATION TO CONTINUE
                        12    RENATO CONSUEGRA-CLEMENTE,                        CALENDAR CALL AND TRIAL DATE
                              Aka “Tito,” and FRANCISCO JAIVER
                        13    MARES, Aka “Pancho,”,
                        14                  Defendants.
                        15
                        16           IT IS HEREBY STIPULATED AND AGREED, by and between Allison Reese, Assistant

                        17    United States Attorney, counsel for the United States of America, Adam Gill, Esq. and Michael

                        18    N. Aisen, Esq., of Aisen, Gill & Associates, counsel for Defendant FRANCISCO MARES, and
                        19    Rene L. Valladares, Federal Public Defender, and Paul D. Riddle, Assistant Federal Public
                        20
                              Defender, counsel for Defendant RENATO CONSUEGRA-CLEMENTE, that the trial currently
                        21
                              set for August 10, 2020 at 9:00 a.m., be vacated and continued to a date and time convenient to
                        22
                              the Court, but no sooner than ninety (90) days.
                        23
                        24           This stipulation is entered for the following reasons:

                        25      1. The parties have discussed this matter and in light of the concerns surrounding the

                        26          COVID-19 virus, it is in the best interest of the Government and the Defendants that this
                        27
                                    matter be continued.
                        28
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 ASSOCIATES, LLP
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                                2. In addition, counsel for the defendants need additional time to conduct investigation in this
                         1
                         2         case in order to determine whether there are any pretrial issues that must be litigated and

                         3         whether the case will ultimately go to trial or will be resolved through negotiations.

                         4      3. Mr. Mares is not in custody and he agrees with this continuance.
                         5
                                4. Mr. Consuegra-Clemente is incarcerated and does not object to the continuance.
                         6
                                5. The parties agree to the continuance.
                         7
                                6. The additional time requested herein is not sought for purposes of delay, but to allow
                         8
                                   counsel for defendants sufficient time within which to be able to effectively and
                         9
                        10         completely investigate the discovery materials provided.

                        11      7. Additionally, denial of this request for continuance could result in a miscarriage of justice.
                        12         The additional time requests by this Stipulation is excludable in putting the time within
                        13
                                   which the trial herein must commence pursuant to the Speedy Trial Act, Title 18, United
                        14
                                   States Code, Section 3161(h)(7)A), considering the factors under Title 18, United States
                        15
                                   Code, Section 3161(h)(7)(B)(i), (iv).
                        16
                        17      8. This is the second request to continue trial dates filed herein.

                        18          DATED this 27th day of July, 2020.

                        19  /s/ Adam L. Gill
                           Adam L. Gill, Esq.
                        20 Counsel for Defendant
                        21 Francisco Mares
                        22  /s/ Allison Reese
                           Allison Reese, Esq.
                        23 Attorney for the United States
                           Assistant United States Attorney
                        24

                        25 /s/ Paul D. Riddle
                           Assistant Federal Public Defender
                        26 Counsel for Defendant
                           Renato Consuegra-Clemente
                        27
                        28
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                              FOF
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                         5    Attorneys for Defendant
                              Francisco Mares
                         6
                                                           UNITED STATES DISTRICT COURT
                         7
                                                                 DISTRICT OF NEVADA
                         8
                              UNITED STATES OF AMERICA,
                         9
                                           Plaintiff,
                        10                                                    Case No: 2:20-CR-00018-JCM-EJY
                              vs.
                        11
                              RENATO CONSUEGRA-CLEMENTE,                      ORDER
                        12    Aka “Tito,” and FRANCISCO JAIVER
                        13    MARES, Aka “Pancho,”,
                                           Defendants.
                        14
                        15                                         FINDINGS OF FACT
                        16
                                        Based on the stipulation of Counsel, and good cause appearing, the Court finds that:
                        17
                                1. The parties have discussed this matter and in light of the concerns surrounding the
                        18
                                    COVID-19 virus, it is in the best interest of the Government and the Defendants that this
                        19
                                    matter be continued.
                        20
                        21      2. In addition, counsel for the defendants need additional time to conduct investigation in this

                        22          case in order to determine whether there are any pretrial issues that must be litigated and
                        23          whether the case will ultimately go to trial or will be resolved through negotiations.
                        24
                                3. Mr. Mares is not in custody and he agrees with this continuance.
                        25
                                4. Mr. Consuegra-Clemente is incarcerated and does not object to the continuance.
                        26
                                5. The parties agree to the continuance.
                        27
                        28      6. The additional time requested herein is not sought for purposes of delay, but to allow
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                                                                             3
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                                    counsel for defendants sufficient time within which to be able to effectively and
                         1
                         2          completely investigate the discovery materials provided.

                         3      7. Additionally, denial of this request for continuance could result in a miscarriage of justice.

                         4          The additional time requests by this Stipulation is excludable in putting the time within
                         5
                                    which the trial herein must commence pursuant to the Speedy Trial Act, Title 18, United
                         6
                                    States Code, Section 3161(h)(7)A), considering the factors under Title 18, United States
                         7
                                    Code, Section 3161(h)(7)(B)(i), (iv).
                         8
                                                                CONCLUSIONS OF LAW
                         9
                        10          The ends of justice served by granting said continuance outweigh the best interest of the

                        11 public and the defendants in a speedy trial, since the failure to grant said continuance would be
                        12 likely to result in a miscarriage of justice, would deny the parties herein sufficient time and the
                        13
                             opportunity within which to be able to effectively and thoroughly prepare for trial, taking into
                        14
                             account the exercise of due diligence.
                        15
                                    The continuance sought herein is excludable under the Speedy Trial Act, Title 18, United
                        16
                        17 States Code, Section 3161(h)(7)(A), when considering the facts under Title 18, United States
                        18 Code, Sections 3161(h)(7)(B) and 3161(h)(7)(B)(i), (iv).
                        19                                                  ORDER
                        20          IT IS THEREFORE ORDERED that the calendar call currently scheduled for August 5,
                        21
                             2020, at the hour of 1:30 p.m., be vacated and continued to _________________ at the hour of
                        22
                             ___:___ __.m.; and the trial currently scheduled for August 10, 2020, at the hour of 9:00 a.m., be
                        23
                             vacated and continued to __________________ at the hour of ___:___ __.m.
                        24

                        25      Dated this _______day of _________, 2020.

                        26

                        27                                                           UNITED STATES DISTRICT JUDGE
                        28
  AISEN, GILL, &
 ASSOCIATES, LLP
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                                                                             4
